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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No. 98 CR 434-9
                                           )    (USCA No. 07-2764)
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                             MEMORANDUM ORDER

     In response to this Court’s attached July 31, 2007

Memorandum Order and Statement, pro se litigant Michael Black

(“Black”) has filed an In Forma Pauperis Declaration and a

printout covering transactions in his trust fund account at FMC

Devins (“Devins”), where he is now in custody.1             That printout

shows that the average deposits to the trust fund account during

the relevant six-month period (see 28 U.S.C. §1915(a)(2)2) came

to $105, 20% of which (see Section 1915(b)(1)) is $21.

     As the July 31 Order and Statement reflects (as did this

Court’s earlier June 19 and July 9, 2007 orders), this Court’s

view is that Black is not entitled to a certificate of


     1
        Because Black did not transmit to this District Court a
“Judge’s copy” of his filing as the local rules require, this
Court first learned of his August 21 filing on August 31, when it
followed its regular practice of obtaining computerized printouts
of all pending motions in cases on its calendar--a practice
intended to avoid situations such as the current one, where the
nondelivery of the required “Judge’s copy” can result in a matter
falling between the cracks.
     2
        All further references to Title 28’s provisions will
simply take the form “Section--.”
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appealability because he has presented no nonfrivolous issue for

consideration.    In the case of a civil appeal by a nonprisoner,

our Court of Appeals’ doctrine is that in forma pauperis status

should be denied unless an applicant not only makes the

appropriate showing of poverty but also demonstrates the

existence of a nonfrivolous ground for appeal.

     Although this Court views Black’s present appeal as posing

an equivalent situation, it is uncertain whether the Court of

Appeals would treat Black’s current appeal in the same way (in

which event the provisions of Section 1915 might not come into

play at all) or whether Section 1915 is indeed applicable (in

which event this Court would be called upon to enter an

appropriate order dealing with the required initial payment of

$21 on account of fees and providing for future installments).

To that end this memorandum order has been transmitted to the

Court of Appeals so that it may rule on which of those courses of

action is appropriate here.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:   September 4, 2007




                                       2
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                    MEMORANDUM ORDER AND STATEMENT

     Michael Black (“Black”), acting pro se, has filed a notice

of appeal from this Court’s orders of June 19 and July 9, 20073

that rejected his most recent effort to attack the sentence that

had been imposed on him and that he is now serving--this time via

a petition for a writ of audita querela.            Although it is unclear

whether such an effort requires compliance with the certificate

of appealability (“COA”) provisions that apply to appeals from

the denial of motions under 28 U.S.C. §2255,4 this Court will

address that subject out of what may be an abundance of caution.

     But before it does so, this Court turns to Black’s required

compliance with Section 1915.         Although an effort to obtain a

writ of audita querela regarding a federal sentence may perhaps,

like a Section 2255 motion, be treated as a continuing part of


     3
        That July 9 order mistakenly referred to the earlier one
as dated June 9. Copies of both orders are attached.
     4
        All further references to Title 28’s provisions will
simply take the form “Section--.”

                                       3
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the underlying criminal case so that no filing fee is required,

an appeal carries its own independent filing fee requirement,

thus obligating Black to pay the $455 aggregate of such fees.

Hence Black is ordered either to pay the $455 in fees or,

alternatively, to submit pursuant to Section 1915:

           1.   a completed In Forma Pauperis Application (copies

     of the form for that purpose are being sent to him together

     with a copy of this order) and

           2.   a printout covering all transactions in his

     prisoner trust fund account for the six-month period

     preceding his notice of appeal.

If Black pursues the latter course, this Court will promptly

determine his eligibility for in forma pauperis status and, if he

is so eligible, the initial partial payment required pursuant to

Section 1915(b)(1).

     As for Black’s possible need for a COA, this Court’s June 19

and July 9 orders explain the lack of merit in Black’s most

recent attempt to challenge his conviction and sentence.                It

therefore declines to issue such a COA.

     If a COA is indeed required before Black may proceed with

his appeal, Black is of course entitled to apply to the Court of

Appeals for that COA pursuant to Section 2253(c)(1).               In the

meantime, however, he is required to comply with the Section 1915

requirements set out at the outset of this order on or before


                                       4
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August 20, 2007 (unless in that instance he advises this Court

that he has requested a printout of his trust fund account

transactions but its production has been delayed).              If he fails

to conform to the provisions in this paragraph, this Court would

expect to recommend to our Court of Appeals that the appeal be

dismissed for nonpayment of the filing fees or of the initial

payment on account of such fees, as the case may be.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date: July 31, 2007




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